           Case 1:19-cv-00700-RP Document 106 Filed 06/26/23 Page 1 of 2



                              IN THE UNITED STATES DISTRICT COURT
                               FOR THE WESTERN DISTRICT OF TEXAS
                                        AUSTIN DIVISION

MARK MILLER, et al.,                                 §
                                                     §
                Plaintiffs,                          §
                                                     §
v.                                                   §                    1:19-CV-700-RP
                                                     §
JANE NELSON, in her official capacity as the         §
Secretary of State of the State of Texas, and        §
JOSE A. ESPARZA, in his official capacity as the     §
Deputy Secretary of the State of Texas,              §
                                                     §
                Defendants.                          §

            PERMANENT INJUNCTION AND DECLARATORY JUDGMENT

        On July 11, 2019, Plaintiffs Mark Miller, Scott Copeland, Laura Palmer, Tom Kleven, Andy

Prior, America’s Party of Texas, Constitution Party of Texas, Green Party of Texas, and Libertarian

Party of Texas’s (collectively, “Plaintiffs”) filed this lawsuit, (Dkt. 1), against Defendants Jane

Nelson, in her official capacity as the Secretary of State of the State of Texas, and Jose A. Esparza, in

his official capacity as the Deputy Secretary of the State of Texas’s (the “Secretary of State” or

“Defendants”), requesting relief, including:

     1. Enter a declaratory judgment holding that Texas’s statutory scheme regulating ballot access
        for parties that do not nominate by primary election is unconstitutional as applied to
        Plaintiffs, and that the following statutory provisions are unconstitutional as applied in
        conjunction with one another: §§ 141.063; 141.041; 141.064; 141.065; 141.066(a),(c);
        162.001, 162.003, 162.012, 162.014; 181.0041; 181.005(a),(b); 181.006(a),(b),(f)-(j);
        181.007(b); 181.031; 181.032; 181.033;

     2. Enter a declaratory judgment holding that Texas’s statutory scheme regulating ballot access
        for Independent candidates is unconstitutional as applied to Plaintiffs, and that the following
        statutory provisions are unconstitutional as applied in conjunction with one another: §§
        141.063; 141.064; 141.065; 142.002; 142.006; 142.007; 142.008; 142.009; 142.010(b);
        192.032(a)-(d),(f),(g); 202.007;

     3. Enter an order enjoining the Secretary of State from enforcing the challenged provisions as
        applied to Plaintiffs.



                                                     1
          Case 1:19-cv-00700-RP Document 106 Filed 06/26/23 Page 2 of 2



(Am. Compl., Dkt. 14, at 30). To resolve the dispute, the parties filed cross motions for summary

judgment, (Dkts. 57, 58), and the Court issued its Order granting in part and denying in part

Plaintiffs’ motion for summary judgment and granting in part and denying in part Defendants’

motion for summary judgment. (Dkt. 102). The parties filed additional briefing regarding the relief

to be entered, (Dkts. 103, 104), and the Court entered an order relating to that briefing on this date.

The Court now enters the following relief.

        IT IS ORDERED that the Court DECLARES that the challenged provisions of Chapters

141, 142, 162, 181, and 202 of the Texas Election Code that regulate the paper nomination petition

process, as described in the Court’s Order at Dkt. 102, are unconstitutional as applied to Plaintiffs

because (1) Defendants failed to show there is a connection between the burdens imposed by the

paper nomination petition process and Defendants’ stated interest to help avoid voter confusion,

ballot overcrowding, and frivolous candidacies and (2) the paper nomination petition process, as

opposed to an electronic process, imposes an unequal burden on Plaintiffs.

        IT IS FURTHER ORDERED that Defendants are ENJOINED from enforcing against

Plaintiffs any provision of Chapters 141, 142, 162, 181, and 202 of the Texas Election Code that

contemplates, relies upon, or requires paper nomination petitions or a paper nomination petitioning,

verification, or submission process.

        As nothing remains to resolve, the Court renders Final Judgment pursuant to Federal Rule

of Civil Procedure 58.

        IT IS FURTHER ORDERED that this case is CLOSED.

        SIGNED on June 26, 2023.




                                               ROBERT PITMAN
                                               UNITED STATES DISTRICT JUDGE


                                                   2
